                  Case 1:25-cv-00251            Document 1-2         Filed 07/02/25     Page 1 of 1
                                                    Hillsborough North

                                                    Case Summary
                                                Case No. 216-2025-CV-00529


Andre Bisasor v Craig Donais, et al                         §                   Location: Hillsborough North
                                                            §                   Filed on: 06/03/2025



                                                   Case Information

                                                                                Case Type: Tort-
                                                                                            Libel/Slander/Defamation
                                                                               Case Status: 06/03/2025 Pending
                                                Assignment Information

             Current Case Assignment
             Case Number 216-2025-CV-00529
             Court         Hillsborough North
             Date Assigned 06/03/2025



                                                   Party Information

Plaintiff     Bisasor, Andre            Pro Se
                                        (781)492-5675(H)

Defendant Donais, Craig

              Donais, Mary

              Donais Law Offices PLLC

              Hilliard, Russell



                                           Events and Orders of the Court

06/03/2025    Complaint - Civil                                                                          Index # 1
                Jury
06/03/2025    Appearance                                                                                 Index # 2
                of Pro Se Plt
06/03/2025    Other                                                                                      Index # 3
                Complaint Cont
06/09/2025    Service
              Donais, Craig
              Unserved
              Donais, Mary
              Unserved
              Hilliard, Russell
              Unserved
              Donais Law Offices PLLC
              Unserved
06/09/2025    Summons on Complaint                                                                       Index # 4
                Env 4325418




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